77 F.3d 472
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff--Appellee,v.Henry SMALLS, Defendant--Appellant.
    No. 95-7718.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 7, 1996.Decided Feb. 26, 1996.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.   Solomon Blatt, Jr., Senior District Judge.  (CR-91-288-2, CA-94-3508-2-8)
      Henry Smalls, Appellant Pro Se.  Benjamin A. Hagood, Jr., Assistant United States Attorney, Charleston, South Carolina, for Appellee.
      D.S.C.
      AFFIRMED.
      Before MURNAGHAN and WILLIAMS, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. § 2255 (1988) motion.   We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   United States v. Smalls, Nos.  CR-91-288-2;  CA-94-3508-2-8 (D.S.C. Oct. 5, 1995).   We deny Appellant's motion for counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    